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 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 Mark D. Estle, Esq. (CA Bar No. 135004)
 Buckley Madole, P.C.
 12526 High Bluff Drive, Suite 238
 San Diego, CA 92130
 Telephone (858) 720-0890
 Facsimile (858) 720-0092




     Movant appearing without an attorney
     Attorney for Movant

                                            UNITED STATES BANKRUPTCY COURT
                                      CENTRAL DISTRICT OF CALIFORNIA - SAN FERNANDO VALLEY DIVISION

 In re:                                                                      CASE NO.: 1:15-bk-10798-MT
 Omid Navid and Mahnaz Dana,                                                 CHAPTER: 13

                                                                                      NOTICE OF MOTION AND MOTION
                                                                                     FOR RELIEF FROM THE AUTOMATIC
                                                                                        STAY UNDER 11 U.S.C. § 362
                                                                                       (with supporting declarations)
                                                                                             (REAL PROPERTY)

                                                                             DATE: March 2, 2016
                                                                             TIME: 11:00 a.m.

                                                               Debtor(s).    COURTROOM: 302

 Movant: CIT Bank, N.A., formerly known as OneWest Bank, N.A., formerly known as OneWest Bank, FSB



1. Hearing Location:
          255 East Temple Street, Los Angeles, CA 90012                                   411 West Fourth Street, Santa Ana, CA 92701
          21041 Burbank Boulevard, Woodland Hills, CA 91367                               1415 State Street, Santa Barbara, CA 93101
          3420 Twelfth Street, Riverside, CA 92501

2. Notice is given to the Debtor and trustee (if any)(Responding Parties), their attorneys (if any), and other interested
   parties that on the date and time and in the courtroom stated above, Movant will request that this court enter an order
   granting relief from the automatic stay as to Debtor and Debtor’s bankruptcy estate on the grounds set forth in the
   attached Motion.

3. To file a response to the motion, you may obtain an approved court form at www.cacb.uscourts.gov/forms for use in
   preparing your response (optional LBR form F 4001-1.RFS.RESPONSE), or you may prepare your response using
   the format required by LBR 9004-1 and the Court Manual.



          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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4. When serving a response to the motion, serve a copy of it upon the Movant's attorney (or upon Movant, if the motion
   was filed by an unrepresented individual) at the address set forth above.

5. If you fail to timely file and serve a written response to the motion, or fail to appear at the hearing, the court may deem
   such failure as consent to granting of the motion.

6.        This motion is being heard on REGULAR NOTICE pursuant to LBR 9013-1(d). If you wish to oppose this motion,
          you must file and serve a written response to this motion no later than 14 days before the hearing and appear at
          the hearing.

7.        This motion is being heard on SHORTENED NOTICE pursuant to LBR 9075-1(b). If you wish to oppose this
          motion, you must file and serve a response no later than (date)     and (time)               ; and, you
          may appear at the hearing.

     a.        An application for order setting hearing on shortened notice was not required (according to the calendaring
               procedures of the assigned judge).

     b.        An application for order setting hearing on shortened notice was filed and was granted by the court and such
               motion and order have been or are being served upon the Debtor and upon the trustee (if any).

     c.        An application for order setting hearing on shortened notice was filed and remains pending. After the court
               rules on that application, you will be served with another notice or an order that specifies the date, time and
               place of the hearing on the attached motion and the deadline for filing and serving a written opposition to the
               motion.


     Date: 2/4/2016                                                               Buckley Madole, P.C.
                                                                                  Printed name of law firm (if applicable)

                                                                                  Mark D. Estle, Esq.
                                                                                  Printed name of individual Movant or attorney for Movant



                                                                                  /s/ Mark D. Estle
                                                                                  _____________________________________________
                                                                                  Signature of individual Movant or attorney for Movant




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             MOTION FOR RELIEF FROM THE AUTOMATIC STAY AS TO REAL PROPERTY
1. Movant is the:
            Holder: Movant has physical possession of a promissory note that either (1) names Movant as the payee under
            the promissory note or (2) is indorsed to Movant, or indorsed in blank, or payable to bearer.
            Beneficiary: Movant is either (1) named as beneficiary in the security instrument on the subject property (e.g.,
            mortgage or deed of trust) or (2) is the assignee of the beneficiary.
            Servicing agent authorized to act on behalf of the Holder or Beneficiary.
            Other (specify):


2. The Property at Issue (Property):

    a. Address:

         Street address: 22394 Algunas Road
         Unit/suite number:
         City, state, zip code: Los Angeles Woodland Hills Area, California 91364

    b. Legal description, or document recording number (including county of recording), as set forth in Movant’s deed of
       trust (attached as Exhibit 1   ): 20070214634 in the County of Los Angeles.

3. Bankruptcy Case History:

    a. A     voluntary     involuntary bankruptcy petition under chapter                           7       11        12       13
       was filed on (date) 3/9/2015    .

    b.         An order to convert this case to chapter                7       11       12        13 was entered on (date)                    .
    c.         A plan, if any, was confirmed on (date) 10/7/2015                 .

4. Grounds for Relief from Stay:

    a.         Pursuant to 11 U.S.C. § 362(d)(1), cause exists to grant Movant relief from stay as follows:
         (1)         Movant’s interest in the Property is not adequately protected.
               (A)       Movant’s interest in the Property is not protected by an adequate equity cushion.
               (B)       The fair market value of the Property is declining and payments are not being made to Movant
                         sufficient to protect Movant’s interest against that decline.
               (C)       Proof of insurance regarding the Property has not been provided to Movant, despite the Debtor’s
                         obligation to insure the collateral under the terms of Movant’s contract with the Debtor.
         (2)         The bankruptcy case was filed in bad faith.
               (A)       Movant is the only creditor, or one of very few creditors, listed or scheduled in the Debtor’s case
                         commencement documents.
               (B)       The Property was transferred to the Debtor either just before the bankruptcy filing or after the filing.
               (C)       A non-individual entity was created just prior to the bankruptcy petition date for the sole purpose of
                         filing this bankruptcy case.
               (D)       Other bankruptcy cases have been filed in which an interest in the Property was asserted.
               (E)       The Debtor filed only a few case commencement documents with the bankruptcy petition. Schedules
                         and the statement of financial affairs (or chapter 13 plan, if appropriate) have not been filed.
               (F)       Other (see attached continuation page).


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          (3)         (Chapter 12 or 13 cases only)
                (A)       All payments on account of the Property are being made through the plan.
                              Preconfirmation      Postconfirmation plan payments have not been made to the chapter 12
                          trustee or chapter 13 trustee.

                (B)       Postpetition mortgage payments due on the note secured by a deed of trust on the Property have not
                          been made to Movant.
          (4)         The Debtor filed a Statement of Intentions that indicates the Debtor intends to surrender the Property.

          (5)         The Movant regained possession of the Property on (date)                                   ,
                      which is    prepetition   postpetition.

          (6)         For other cause for relief from stay, see attached continuation page.

     b.         Pursuant to 11 U.S.C. § 362(d)(2)(A), the Debtor has no equity in the Property; and, pursuant to
                § 362(d)(2)(B), the Property is not necessary to an effective reorganization.

     c.         Pursuant to 11 U.S.C. § 362(d)(3), the Debtor has failed, within the later of 90 days after the order for relief or
                30 days after the court determined that the Property qualifies as “single asset real estate” as defined in
                11 U.S.C. § 101(51B) to file a reasonable plan of reorganization or to commence monthly payments.

     d.         Pursuant to 11 U.S.C. § 362(d)(4), the Debtor’s filing of the bankruptcy petition was part of a scheme to delay,
                hinder, or defraud creditors that involved:
          (1)         The transfer of all or part ownership of, or other interest in, the Property without the consent of Movant or
                      court approval; or
          (2)         Multiple bankruptcy cases affecting the Property.

5.        Grounds for Annulment of the Stay. Movant took postpetition actions against the Property or the Debtor.

     a.         These actions were taken before Movant knew the bankruptcy case had been filed, and Movant would have
                been entitled to relief from the stay to proceed with these actions.

     b.         Movant knew the bankruptcy case had been filed, but Movant previously obtained relief from stay to proceed
                with these enforcement actions in prior bankruptcy cases affecting the Property as set forth in Exhibit _____.

     c.         Other (specify):



6. Evidence in Support of Motion: (Declaration(s) MUST be signed under penalty of perjury and attached to this
   motion)
     a. The REAL PROPERTY DECLARATION on page 6 of this motion.
     b.         Supplemental declaration(s).
     c.         The statements made by Debtor under penalty of perjury concerning Movant’s claims and the Property as set
                forth in Debtor’s case commencement documents. Authenticated copies of the relevant portions of the case
                commencement documents are attached as Exhibit 6        .
     d.         Other:



7.        An optional Memorandum of Points and Authorities is attached to this motion.




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Movant requests the following relief:

1. Relief from the stay is granted under:                11 U.S.C. § 362(d)(1)             11 U.S.C. § 362(d)(2)             11 U.S.C. § 362(d)(3).

2.       Movant (and any successors or assigns) may proceed under applicable nonbankruptcy law to enforce its
         remedies to foreclose upon and obtain possession of the Property.

3.       Movant, or its agents, may, at its option, offer, provide and enter into a potential forebearance agreement, loan
         modification, refinance agreement or other loan workout or loss mitigation agreement. Movant, through its
         servicing agent, may contact the Debtor by telephone or written correspondence to offer such an agreement. Any
         such agreement shall be nonrecourse unless stated in a reaffirmation agreement.

.       Confirmation that there is no stay in effect.

.       The stay is annulled retroactive to the bankruptcy petition date. Any postpetition actions taken by Movant to
         enforce its remedies regarding the Property shall not constitute a violation of the stay.

.       The co-debtor stay of 11 U.S.C. §1201(a) or § 1301(a) is terminated, modified or annulled as to the co-debtor, on
         the same terms and conditions as to the Debtor.

.       The 14-day stay prescribed by FRBP 4001(a)(3) is waived.

.       A designated law enforcement officer may evict the Debtor and any other occupant from the Property regardless
         of any future bankruptcy filing concerning the Property for a period of 180 days from the hearing on this Motion:
             without further notice, or     upon recording of a copy of this order or giving appropriate notice of its entry in
             compliance with applicable nonbankruptcy law.

.       Relief from the stay is granted under 11 U.S.C. § 362(d)(4): If recorded in compliance with applicable state laws
         governing notices of interests or liens in real property, the order is binding in any other case under this title
         purporting to affect the Property filed not later than 2 years after the date of the entry of the order by the court,
         except that a debtor in a subsequent case under this title may move for relief from the order based upon changed
         circumstances or for good cause shown, after notice and hearing.

.      The order is binding and effective in any bankruptcy case commenced by or against any debtor who claims any
         interest in the Property for a period of 180 days from the hearing of this Motion:
              without further notice, or     upon recording of a copy of this order or giving appropriate notice of its entry in
              compliance with applicable nonbankruptcy law.

1.      The order is binding and effective in any future bankruptcy case, no matter who the debtor may be:
              without further notice, or  upon recording of a copy of this order or giving appropriate notice of its entry in
              compliance with applicable nonbankruptcy law.

1.      Upon entry of the order, for purposes of Cal. Civ. Code § 2923.5, the Debtor is a borrower as defined in Cal. Civ.
         Code § 2920.5(c)(2)(C).
1.      If relief from stay is not granted, adequate protection shall be ordered.

1.      See attached continuation page for other relief requested.

      Date: 2/4/2016                                                             Buckley Madole, P.C.
                                                                                 Printed name of law firm (if applicable)
                                                                                 Mark D. Estle, Esq.
                                                                                 Printed name of individual Movant or attorney for Movant

                                                                                 /s/ Mark D. Estle
                                                                                 Signature of individual Movant or attorney for Movant

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                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Buckley Madole, P.C.
14841 Dallas Parkway, Suite 425
Dallas, TX 75254

A true and correct copy of the foregoing document entitled: NOTICE OF MOTION AND MOTION FOR RELIEF FROM
THE AUTOMATIC STAY UNDER 11 U.S.C. § 362 (with supporting declarations) (REAL PROPERTY) will be served
or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 2/4/2016     , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
United States Trustee (SV), ustpregion16.wh.ecf@usdoj.gov
Trustee, Elizabeth (SV) F Rojas (TR), cacb_ecf_sv@ch13wla.com
Attorney for Debtor(s) Farbood Majd, fmajd@fmajdlaw.com, irlanda@lalawinc.com


                                                                                             Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 2/4/2016       , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
Omid Navid, 22394 Algunas Road, Woodland Hills, CA 91364
Mahnaz Dana, 22394 Algunas Road, Woodland Hills, CA 91364



                                                                                             Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                  , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                             Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



  2/4/2016                                  Bristol Cox                                 /s/ Bristol Cox
 Date                             Printed Name                                                  Signature


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